Case 1:23-cv-00480-JJM-PAS            Document 78      Filed 02/13/25      Page 1 of 3 PageID #:
                                            1018



AFFIDAVIT OF RACHEL WARE

UNITED STATES DISTRICT COURT​
Rhode Island District Court 1:23-cv-00479 & 00480

I, Rachel Ware, state as follows:

   1.​ Personal Information​

       I, Rachel Ware, am over the age of eighteen (18) and competent to testify to the matters

       set forth in this affidavit.

   2.​ Purpose of Affidavit​

       I am submitting this affidavit in support of an audio file that I am providing to the Federal

       Courts, which contains a recorded interaction between myself and Captain Robertson of

       the Cranston Police Department’s Records Division.

   3.​ Reason for Recording​

       Based on my personal experiences with the city of Cranston personnel including the

       Cranston Police Department and for my own protection, I routinely record interactions

       with the department when engaging with its personnel. RI is a one party consent state

       when it comes to recording and under R.I. Gen. Laws § 11-35-21 (2012) I have the ability

       to record as I give consent.

   4.​ Circumstances of the Recording​

       a. On February 3rd, 2025, I went to the Cranston Police Department to drop off an

       official court document.​

       b. While at the department, Captain Robertson of the Records Division came out to speak

       with me when he found out I was present.​

       c.For factual background, at the time of my visit, I had pending emails and APRA’s

       awaiting a responses from Captain Robertson regarding policies and procedures I was
Case 1:23-cv-00480-JJM-PAS           Document 78       Filed 02/13/25     Page 2 of 3 PageID #:
                                           1019



       requesting information on.​

       d. Our conversation was not premeditated nor did I expect to engage in any type of

       discussion with Captain Robertson during my visit.​

       e. My audio recording device, which I use for my personal records, happened to capture

       our interaction, as heard in my recording, the conversation was regarding the policies and

       procedures in which I was inquiring

   5.​ Authenticity of the Recording​

       a. The recording accurately reflects the interaction and conversation that took place

       between myself and Captain Robertson.​

       b. I have not altered, edited, or manipulated the recording in any way.

   6.​ Submission to the Court​

       I submit this affidavit and the accompanying audio recording as evidence to support my

       statements regarding the interaction.


Respectfully submitted,

/s/ Rachel Ware​
57 Rolfe Square Unit 10113​
Cranston, RI, 02910​
401.447.7769​
kskustomsrideons@gmail.com
Case 1:23-cv-00480-JJM-PAS           Document 78       Filed 02/13/25      Page 3 of 3 PageID #:
                                           1020



CERTIFICATION

I certify that a true and accurate copy of the within was e-filed and submitted on 2/12/25.

Julia K. Scott-Benevides​
DeSisto Law LLC​
4 Richmond Square
Suite 500
Providence, RI 02906​
(401) 272-4442​
julia@desistolaw.com
​
/s/ Rachel Ware
